Case 2:22-cv-03446-JMA-JMW Document 1 Filed 06/10/22 Page 1 of 9 PageID #: 1

                                                                                                               FILED
                                                                                                      I.e. JNCLERK'SOFFICE
                                                                                                      U.S. DISTRICT COURT E.D.N.Y.

                                                                                                      •k      JUN1O2022            k
                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK
                          COURT FILE NO.:CV-                                                           LONG ISLAND OFFICE



                                                                                                                  AZRACK,J.
 JAMES BORDONARO,
                                                                                                             WICKS, M J.
                                            Plaintiff,

                        -against-                                                       VERIFIED COMPLAINT


                                                                                            42U.S.C.61983


 Jennifer Coden.;                                                                     JURY TRIAL DEMANDED
 Justice Roy S. Mahon.;
 Erroi D.Toulon,Jr.
 Fido's Fences,Inc
 AND DOES 1 THROUGH 100,INCLUSIVE,

                                        Defendant




   S.Mn.I.IONnni.l.AW claim under 42 U.S.CODE SEC 1983 ACTION FOR
 DEPRAVATION OF CIVIL RIGHTS.VIOLATION OF DDE PROCESS.CX)NSP1RACV
  TO COMMIT PERJURY.WRONGFUL FORECLOSURE. THIS CLAIM IS ALSO
         FOR OBSTRUCTION OF THE ADMINISTRATION OF JUSTICE


                         I"Cqjtnque Rd PolissliQa          Prindpte Pan OfEveiytfaing b In The Begtaniod

 Comes Now PlaintiffJames Bordonaro,to file bis Cltdm a^iinst die defemlant's.The claim
 will be brought forward in Common Law,^^Administrative Law,""Law,""Equity,"This42 U.S.
 Code Sec. 1983 Civil Action Claim is for Depravation ofCivil Right Under Color ofLaw,
 conspiracy to commit real estate fiaud,and peijuiy. This case is brou^tto aiforce constitutional
 rights under 42 U.S.C.§ 1983,conspiracy statutes under Federal Law.


                                   42 U.S.Code§ 1983 - Civil actlim for^nlvation ofi^lits

 Eveiy person vdio, under color ofany statute, ordinance* regulation,custom,or usage,ofany State or Territoiy or die District of
 Columbia,sut^ects,or causes to be subjected,any citizen ofthe United States or other person wddiin diejurisdiction thereofto
 the de|uivation ofany rights,privil^es,or immunides secured by die Constitution and laws,shall be liable to diepar^ iiyured in
 an acdon at law,suit in equity, m'l^erim^ier proceeding for redress,except that in any acdmi brought againstajudicial officer


                                                       Civil Rights Lawsuh
Case 2:22-cv-03446-JMA-JMW Document 1 Filed 06/10/22 Page 2 of 9 PageID #: 2




 fin*an act ormnissiiHi taken in sudi officer'sjudicial oqiacilyt ii^unctive reliefshall not be granted unless a dedaratoiy deoee
 was vkrfaied w declaiatny rdiefwas unavaUaUe.For the inuposes ofdils section* aiQr Act ofCongress q[)pUcable exdudvefy to
 die District ofColumbia duiil be a statute ofthe District ofColumbia.




                                                    JURISDICTION:

  1. The Judiciary Act,though,Congress placed admiralty under thejurisdiction ofthe federal
 district courts.

 2. This court has subject matterjurisdiction over tibds matter pursuant to 28 U.S.C. 1331,which
 provides district courts withjurisdiction over civil actions arising under the United States
 Constitution or laws ofthe United States.

 3. This court has p^sonaljurisdiction ov^the defendant's corporations because the
 corporation's principal place ofbusiness is in this state.
 4. Venue is proper pursuant to 28 U.S.C. 1391(b)because die events giving rise to the allegations
 in this complaint occurred in this district
 5.Federal court hasjurisdiction over this case based on die following reasons:
 6.42 use 1983 civil ri^ts claim is Constitutional dilute.
 7.The amount ofdamage is over what the state court hasjurisdiction to rule on.
 8. The defendants violated Federal Laws.

 9.The defendants violate the plaintifTs right to due process in state court whereby is liable under
     42 U.S.C 1983 a federal civil rights statute.

 10. There is no other court available for remedy.




                                                    INTRODUCTION


 11. This case involves an apparent deception perpetrated by a licensed New Yoric Attom^
 Jennifer Coden,Esq.Bodi Ms.Coden Esq. and die principal ofthe Defendant Fido Fences are
 well aware ofthe Orders ofthis Court entiding Plaintiffto the proceeds in respect ofhe and his
 wife's primary Homestead Exempt residence located at 1705 North Gardiner Drive,Bay Shore,
 New York 11706.(A copy ofCourts order ofHomestead Exemption annexed hereto as Exhibit
 '^A"). Nonetheless, Ms.Coden,Esq.circumvented the Orders made by this Court by
 misrqnesenting on the Suffolk County Sheriffs Certification that the prop^ly is not Homestead
 Exempt(A copy ofSheriffs Certification is annexed hereto as Exhibit
                                                                 2
                                                        Civil Rigl^ Lawsuit
Case 2:22-cv-03446-JMA-JMW Document 1 Filed 06/10/22 Page 3 of 9 PageID #: 3




 12. This was done widi die intention to circumvent the letter oflaw by tidling to bring a Special
 Petition requesting permission fiom the Suffolk County Siqneme Courtto effect the SherifTs
 Sale pursuant CPLR 5206(e). Through this deception both Jennifer Coden,Esq.and Fido Fences
 Inc. have profoundly benefited fiom the Sale. Defendant and its attom^ ofrecord Jennifer
 Coden,Esq.,sold the property to themselves at an unaudiorized SherifTs sale on November 10,
 2020 for the sum of Five Thousand Dollars($5,000.00)(A copy ofSuffolk County Sheriffs
 Indenture is annexed hereto as Exhibit''C'O*

 13. Plaintiff, James Bordonaro,attempted to mitigate the Illegal SheriffSale ofhis residence
 that took place on November 10,2020 by bringing a Special Proceeding Pursuant to CPLR
 5206(e)on November 06,2020 for an incorrect venue- Nassau Supreme Court and was not
 successful.


 14. -Tftiinifer Coden,Esq. used her petition and oftice to contemptuously circumvent the Orders
 ofthis Court and succeeded with her deceitfid r^resentations under the penalty ofpeijury and in
 that process ofthe deceit effected an Illegal SheriffSale ofthe Homestead Exenqit pnqperty in
 order to unjustly enrich herselfand husband fix)m the Sale.

 15. Since the Illegal SheriffSale,the issue ofEviction/Ejection was commenced in the Landlord
 Tenant Court ofSuffolk County: Fiftii District und^the index number LT273/21,by the Law
 firm Hertz,Cherson & Rosoithal,P.C.to remove Plaintiff his wife and diildien fix>m the
 property without proceeds ofthe Homestead Exempt entitlement

 16. Neither Ms.Coden,Esq. nor Fido Fences sought to enforce ajudgment against the Plaintiffs
 Homestead. And despite the feet that the provisions ofCPLR 5206 requires that a creditor
 proposing a Sale ofa Homestead Exempt property must first seek the Court's Approval, Ms.
 Coden,Esq.feiled to seek the Suffolk County Siqneme Court's Approval prior to the
 Involuntary Sale ofthe aforementioned property. Ms.Coden,Esq. also fiuled to correct the
 material misstatement ev^ after the same was pointed out to hw in Court papers oftiie Special
 proceeding brought by Plaintiff; she continued witii her assertion ofa right to enforce an
 involuntary SheriffSale ofthe Homestead Exempt property under the material misrq>resentation
       by herselfand without the permission ofthe Court. This is frivolous behavior and
 sanctionable under 22 NYCRR § 130-l.l.a,c(2), c(3).


                                                    3
                                           Civil Rights Lawsuit
Case 2:22-cv-03446-JMA-JMW Document 1 Filed 06/10/22 Page 4 of 9 PageID #: 4




 17. In the light ofthe foregoing, Plaintiff believes that an ejection of he and his wife fix)m the
Homestead property located at 1705 North Gardiner Drive, Bay Shore, New York 11706 is
unwarranted and the Plaintiffand his wife believes that they are NOT compelled to surrender the
property unless the sum aggregate Homestead Exemption proceeds of which Plaintiffis entitled
to receive is distributed or in the alternative the proceeds be marshaled from an appropriate
Sheriffs Sale.


 18. The attorney Jennifer Coden.; ofJennifer L Coden Law Offices is employed by her husband
Fido's Fences at 6500 Jericho Tumpike,Syosset, NY 11791.

 19. A judgment lien against Plaintiff was recorded on March 08,2013 under Index^
022696/2009 in Nassau County Supreme Court. With the judgment she effected an Illegal
 Sheriff Sale ofthe Homestead Exempt property.

20. On November 06,2020 Plaintifffiled a petition in the Nassau Supreme Court under Index#
612647/2020 to enjoin the sheriff sale.

21. On November 6,2020, plaintifffiled an order to Show Cause with a Temporary Restraining
 Order. Justice Roy Mahon signed the order and striking the restraint which resulted in plaintiffs
 property being sold to the defendant Jennifer Coden's husband.(See Exhibit"D")

22. On May 31,2022 Deputy Sheriffsent a 14 Dav EVICTION NOTICE(See Exhibit"E")




                                              PARTIES:


 a. The first defendant Jennifer Coden is a resident ofNassau County, New York.

 b. The second defendant is Justice Roy S. Mahon;

 d. The third defendant is Deputy SheriffErrol D. Toulon, Jr.;

 e. The fourth defendant is Fido's Fences Inc., Esq.




                                                     4
                                            Civil Rights Lawsuit
Case 2:22-cv-03446-JMA-JMW Document 1 Filed 06/10/22 Page 5 of 9 PageID #: 5




Count One: Violation of42 U.S.C. 1983:

1.Plaintiffincoipoiates by reference tiie &cts alleged in paragraphs 1-30.

a. The defendant's negligence was the direct and proximate result oftiie plaintiff's iiyuries.



Count Two: Violation ofDue Process:

1. Plaintiffincorporates by reference the fects alleged in paragr^hs 1-30

The def(^dants had a duty to follow the law and the constitutioa

Count Three:

Pequry:
3.Plaintiffincorporates by referraice the fects alleged in paragr^hs 1-30


Count Four::

Wrongftil Foreclosure:
4.Plaintiffincorporates by reference tiie fects alleged in paragreqitiis 1-30


                                 Infliction ofEmotional Distress:

23.Tbe              have intentionally and negligently taken illegal actions which have caused
the plaintiff's severe emotional distress.



                                              Damages:

 24.The plaintiffis seeking damages fer wrongful fereclosure,and he has shown that

(a.)there was an irregularity in the foreclosure sale and

(b.)the irregularity caused the plaintiffdamages. See University Sav. Ass*n v. Springwoods.


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                                             Civfl Righls Lowstth
Case 2:22-cv-03446-JMA-JMW Document 1 Filed 06/10/22 Page 6 of 9 PageID #: 6




25. As a proximate result ofthe negligent actions ofdefendants,the plaintiffs have suffered
              damage       will continue to suffer additional damage in an amount to be fiilly
proved at the time oftrial.

26. As a resuh oftiiese actions by Jennif^ Coden Esq.,Roy S. Mahon;De^nity SheriffErrol D.
Toulon,Jr; and Fido*s Fences Inc.

I have suffoed in the following w^s:

        a) Timeline 2014-2015,during the Chaptm'7BR case, Loretta had a miscarriage outside
        fed^al court room vriien Coden demanded Loretta be brou^t to tite stand. Even tiioi^ she was
        not part ofthe BR filing. Our lawyer at the time(Michael McNamar,)told Jud^ Grossman.
        Loretta was ill and Judge stated he did not want any incident ofsomeone becoming even more ill
        in his court and denied Coden's request

         b:) Our oldest daughter was a *'cutter" during her years in high school.She became very
        anxious& depressed even to tiiis currrot day.She was diagnosed with sev^ depression and
             anxiety when she was admitted to Saint Catiline's hospital for few days after rite had
        passed out She moved down to anotfa^ state because oftiie toxicity in this house as a result of
        this 13 year long ordeal!

        c:) Our 4th son developed ^mptoms ofa manic depressive since 9th grade and also thinks of
        this house as very toxic aiid has not lived here since college and states he will never come back
        again.

        d:) Our middle dau^ter has taken things almost to the maximum extreme,where in Get2017,
        she almost CD on an exorbitant amount of pills in which fmr two d^s it was toudi and go and tiie
        doctms did notfeel her diances wwe good. Then after she was finally released,ti^brou^t her
        to p^chiatric ho^hal.In May 2018,she did it again, passing out and we ruriied her to the
        hospital. After a few days in hospital, riie was brought to psychiatric fecility again. Then in Jan
        2019 we found her passed out in bativoom and brought to the hospital,as riie had done it again.
        And tiien brou^tfor a 3rd time to tiie psych center. She still suffers from tremmidous anxiety
         and     move out ofstate with h^sist^. Unfintunately,she is still suffenng fiom tiie anxiety
         Inought upon Ity this vexatious ongoing liti^us action. Right after she moved,she suffered
         between leaving atoxic house but did not wantto leave us main femily.
          e:) During our daughter's stay at the hospital ofOct.2017,the doctcx'told Loretta for our
         daughter's sake, we needed to take her and tiie children who were still witii us,out ofthe house.
         As a result, Loietta took the 3 remaining children to a shelter because we could not afford proper
         housing. And th^ stayed in tiie shelter till Augustof2018.

         f:) There are more              IE,Our 2nd and 3rd sons have been affected psychologically by
         the toxicity ofthis ordeal also. But these are the main on



                                                       6
                                               CivSRlglits Lawsuit
Case 2:22-cv-03446-JMA-JMW Document 1 Filed 06/10/22 Page 7 of 9 PageID #: 7




        g)       No one can letum to me the heal& I have lost in dealing with the dubious actions
        ofIhe persons named in my lawsuit
        h) I will never completeiy retrieve my peace ofmind and calm the near-constant state of
        anxi^ I find myselfin now. These actions have forever altered my mental heatfo and well-
        being.
        i)  The defendant's,acted with deliberate indifferent to the Constitiition and or federal laws
        wh^   violated the plaintifTs right UNDER 42 U.S.CODE SEC. 1983,and the plaintiffs
        rightto **<1110 process".




IfVHEREFORE,PlaintiffJan Doe,request the following
a.That the court enter ajudgment in fevor ofJames Bordonaro,and against the defendants on all
counts ofthe Conq)laint:
b. Thatfoe court award comp^isatory damages unto Plaintiffand a^unstfoe defendantsjointly
and severally,including damages for emotional distress, humiliation,and other pain and
suffering on all dflimg allowed by law in an amount in excess S- Million Dollars:
c. Thatfoe court award punitive damages to plaintiff,and against the defendants,jointly and
sevoally,in an antnimt to determine at trial in order that such award will deter similar proscribed
 conduct by foe defendants in the future.
 d. That the court award plaintiff,and againstfoe def^dants,inpgudgment and post-judgment
 interest on all sums awarded in this action, and including reasonable legal fees,pursuant to
42.U.S.C. Sec. 1988:and

 e. Thatfoe court grant Plaintiffsuch ofoer equitable reliefthat tiie court deems appropriate.




 DemandFor A Trial Bv Jury

 Comes Now,the plaintiff, and hmby demandsjury trial on all issues so triable to ajury.



                                                                                       6/10/2022
                                                                   James Bordonaro
                                                                Without Prejudice UCC1-308


                                                     7
                                             Civil Ri^Lawsuit
Case 2:22-cv-03446-JMA-JMW Document 1 Filed 06/10/22 Page 8 of 9 PageID #: 8




                                       VERIFICATION


STATE OF NEW YORK)
                            ss:

COUNTY OF SUFFOLK )


        James Boidonaro,being duly sworn,dqx>ses and says the following: We are the
Plaintiffe pro se in the within action; We have drafted and read the foregoing COMPLAINT and
know the contents thereof; and the same is true to our own knowledge,except as to matters
therein stated to be allied on information and belief and as to those matters, we believe it to be
true.




Dated: SufiEblk, County,New York
        June     ,2022

                                                                 James Bordonaro,
                                                                 Witfuna Prejudice, UCC1-308
                                                                 1705 North Gardner Drive,
                                                                 Bi^shore,NY, 11705




                                                   8
                                           CivaRigliis Lawsuit
Case 2:22-cv-03446-JMA-JMW Document 1 Filed 06/10/22 Page 9 of 9 PageID #: 9




                                   Certificate ofService:

A copy ofthis document was mailed to the court and a copy was mailed to the parties and the
agency listed below.




       les Bordonaro
  WithoutPrejudice 1-308




Judge:
Roy Mahon.
Supreme Court,Nassau County
ICQ Siqireme Court Drive
Nfineok,New York 11501

Attom^s:
LAW OFFICES OF JENNIFER L.CODEN,PLLC.
Jennifer Coden,Esq.
100 Crossways Park Dr W Suite 212,
Woodbuiy,NY 11797

Fido's Fences,Inc.
6500 Jericho Turnpike,
Syosset,NY 11791

Sheriff:
Enol D.Toulon
360 Yiq)hank Avenue
Suite lA
 Y^hank,N.Y. 11980




                                                  9
                                         Civfl Rights Lawsuit
